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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                          CASE NO.: 0:23-cv-61354

    PROGRESSIVE        EXPRESS
    INSURANCE COMPANY,

          Plaintiff,

    vs.

    RASIER-DC, LLC, a foreign limited
    liability    company;       UBER
    TECHNOLOGIES, INC., a foreign
    corporation;    and       KARINA
    MONASTERIO, individually,

         Defendants.
    ____________________________/

                       PROGRESSIVE’S ANSWER TO COUNTERCLAIM

          Plaintiff/Counter-Defendant, Progressive Express Insurance Company (“Progressive”), by

   and through its attorneys, Morgan & Akins, PLLC, states by way of Answer to the

   Counterclaim/Cross-Claim       filed     by   Defendant/Counter-Plaintiff,    Karina    Monasterio

   (“Monasterio), [DE 22], as follows:

                          JURISDICTION, VENUE, AND THE PARTIES

                         1.      The Plaintiff is a resident of Broward County,
                  Florida.

   ANSWER:        Progressive admits the allegations contained at paragraph 1.

                         2.      The Defendant, UBER TECHNOLOGIES INC., is a
                  Delaware corporation for profit doing business in Broward County,
                  FL with a Florida registered agent in Broward County, Florida.

   ANSWER:        Progressive admits that UBER Technologies, Inc., is a Delaware corporation.

   Progressive lacks information sufficient to form a knowledge or belief as to the truth or falsity of

   the remaining allegations contained at paragraph 2 and, therefore, neither admits nor denies same.
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                         3.       The Defendant, RASIER (FL), LLC, is a Delaware
                  limited liability company for profit doing business in Broward
                  County, Florida with a Florida registered agent in Broward County,
                  Florida.

   ANSWER:        Progressive admits that Rasier-DC, LLC, improperly referred to as Rasier (FL),

   LLC, is a Delaware limited liability company doing business in Broward County, Florida.

   Progressive lacks information sufficient to form a knowledge or belief as to the truth or falsity of

   the remaining allegations contained at paragraph 3 and, therefore, neither admits nor denies same.

                         4.      The Defendant, PROGRESSIVE EXPRESS
                  INSRUANCE COMPANY, is an Ohio corporation for profit, doing
                  business in Florida with offices in Broward County, Florida.

   ANSWER:        Progressive admits the allegations contained at paragraph 4.

                          5.     Venue is proper in the 17th Judicial Circuit because
                  the facts giving rise to this cause of action occurred in Broward
                  County Florida and the Defendants each maintain offices in
                  Broward County Florida.

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusion

   contained at paragraph 5 as this is a counterclaim filed in connection with an action pending in the

   United States District Court for the Southern District of Florida, not the Seventeenth Judicial

   Circuit in and for Broward County, Florida.

                   GENERAL ALLEGATIONS COMMON TO ALL COUNTS

                          6.     Defendants UBER and RASIER operate the Uber
                  application, a “Transportation Network Company” (TNC) as
                  defined by Florida Statutes section 627.748(1)(f) because UBER
                  and RASIER use a digital network to connect a rider to a TNC
                  driver, who provides prearranged rides.

   ANSWER:        Progressive admits the allegations contained at paragraph 6.

                         7.    Defendant PROGRESSIVE issued a “Transportation
                  Network Company Commercial Auto Policy” to UBER and
                  RAISER in effect in Florida for the policy period March 1, 2022
                  through March 1, 2023.


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   ANSWER:        Progressive admits that it issue a “Transportation Network Company Commercial

   Auto Policy” to Defendant/Cross-Defendant, Raiser-DC, LLC, as a named insured and that UBER

   was an additional insured under the Policy. Progressive denies the remaining allegations contained

   at paragraph 7, as phrased.

                         8.      On May 6, 2022, the Plaintiff was a TNC driver as
                  defined by Fla. Stat. §627.748(1)(g) because she received a
                  connection to a potential rider and related services from UBER and
                  RASIER, and in return for compensation, she used a vehicle she
                  owned to provide a prearranged ride to a rider upon connection
                  through a digital network.

   ANSWER:        Progressive admits that Monasterio logged into the “Uber” ride share application

   on May 6, 2022, and accepted a request on the Uber App to provide a ride for Bradford Cavanaugh.

   Further responding, Progressive states that the remaining allegations contained at paragraph 8 set

   forth a legal conclusion, rather than the allegation of any fact, for which no answer is required. To

   the extent that an answer is deemed necessary, Progressive admits only that Fla. Stat. §

   627.748(1)(g) defines the terms “transportation network company driver,” or “TNC driver,” and,

   to the extent that Monasterio’s allegations conflict with the definitions or any subsequent decisions

   interpreting the statute or the sub-paragraph, the remaining allegations contained at paragraph 8

   are denied.

                         9.     When Plaintiff first became a TNC driver, she relied
                  on the understanding that Defendants offered all insurance
                  coverages required by law and relied on the understanding that
                  Defendants provided her uninsured/underinsured motorist coverage.

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusions

   contained at paragraph 9.

                          10.     On May 6, 2022, non-party Bradford Cavanaugh was
                  a “rider” as defined by Fla. Stat. §627.748(1)(c) because he used the
                  Uber app to connect with the Plaintiff in order to obtain a
                  prearranged ride in the Plaintiff’s vehicle between points chosen by
                  Mr. Cavanaugh.

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   ANSWER:        Progressive admits that Monasterio logged into the “Uber” ride share application

   on May 6, 2022, and accepted a request on the Uber App to provide a ride for Bradford Cavanaugh.

   Further responding, Progressive states that the remaining allegations contained at paragraph 10 set

   forth a legal conclusion, rather than the allegation of any fact, for which no answer is required. To

   the extent that an answer is deemed necessary, Progressive admits only that Fla. Stat. §

   627.748(1)(c) defines the terms “rider,” and, to the extent that Monasterio’s allegations conflict

   with the definitions or any subsequent decisions interpreting the statute or the sub-paragraph, the

   remaining allegations contained at paragraph 10 are denied.

                         11.      On May 6, 2022, the Plaintiff was engaged in a
                  “prearranged ride” as defined by Fla. Stat. §627.748(1)(b) because
                  she accepted the ride requested by Mr. Cavanaugh, who traveled
                  from Ohio to South Florida, to transport him from Fort Lauderdale
                  Airport to his chosen final destination in the South Florida area.

   ANSWER:        Progressive admits that Monasterio logged into the “Uber” ride share application

   on May 6, 2022, and accepted a request on the Uber App to provide a ride for Bradford Cavanaugh.

   Further responding, Progressive states that the remaining allegations contained at paragraph 11 set

   forth a legal conclusion, rather than the allegation of any fact, for which no answer is required. To

   the extent that an answer is deemed necessary, Progressive admits only that Fla. Stat. §

   627.748(1)(b) defines the terms “prearranged ride,” and, to the extent that Monasterio’s allegations

   conflict with the definitions or any subsequent decisions interpreting the statute or the sub-

   paragraph, the remaining allegations contained at paragraph 11 are denied.

                          12.      While Plaintiff was engaged in a prearranged ride
                  traveling southbound on the express lane of I-95, non-party Michael
                  Israel negligently lost control of his vehicle, spun through three
                  lanes of traffic, and collide with Plaintiff’s vehicle.

   ANSWER:        Progressive admits that Michael Israel lost control of his vehicle, spun through three

   lanes of traffic, and collided with Monasterio’s vehicle. Further responding, Progressive states that


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   the remaining allegations contained at paragraph 12 constitute legal conclusions for which no

   response is required.

                           13.    On May 6, 2022, Mr. Israel was underinsured.

   ANSWER:        Progressive admits only that Monasterio has alleged that Israel was negligent and

   underinsured. Progressive lacks information sufficient to form a knowledge or belief as to the truth

   or falsity of the remaining allegations contained at paragraph 13 and, therefore, neither admits nor

   denies same.

                           14.    Mr. Israel’s negligence caused the Plaintiff
                  catastrophic bodily injuries, resulting in a spinal cord injury, loss of
                  use of her legs, over $350,000 in medical bills, and resulting pain
                  and suffering, disability, disfigurement, mental anguish, loss of
                  capacity for the enjoyment of life, expense of hospitalization,
                  medical and nursing care and treatment, loss of earnings, and loss of
                  ability to earn money. These losses will continue into the future.

   ANSWER:        Progressive admits only that Monasterio has alleged that Israel’s negligence the

   cause of her injuries. Progressive lacks information sufficient to form a knowledge or belief as to

   the truth or falsity of the remaining allegations contained at paragraph 14 and, therefore, neither

   admits nor denies same.

                          15.    On May 6, 2022, Florida law required UBER,
                  RASIER, and PROGRESSIVE, as their insurer to provide at least
                  $1,000,000.00 in underinsured/uninsured motorists coverage to
                  TNC drivers, such as the Plaintiff, while the TNC driver is engaged
                  in a prearranged ride. See. Fla. Stat. §627.748(7)(c)c.

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusions

   contained at paragraph 15.

                          16.    Florida law specifically requires that “. . . the
                  insurance maintained by the TNC must provide the coverage
                  required under this subsection, beginning with the first dollar
                  amount of the claim, and have a duty to defend such claim.” Fla.
                  Stat. §627.748(7)(d).



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   ANSWER:        Progressive admits only that Monasterio has quoted a portion of the statute. Further

   responding, Progressive denies that it was required to provide the insurance as suggested or

   implied at paragraph 16.

                          17.     TNC drivers, such as the Plaintiff, have the ability to
                  check the status of the coverages offered by the Defendants using
                  the Uber app. In May 2022, the app displayed a PROGRESSIVE
                  “Certificate    of    Insurance” which        did     not     indicate
                  uninsured/underinsured motorist coverage was rejected. See Figure
                  1. (figure omitted)

   ANSWER:        Progressive lacks information sufficient to form a knowledge or belief as to the

   truth or falsity of the allegations contained at paragraph 17 and, therefore, neither admits nor denies

   same.

                         18.     After the collision, Plaintiff sent insurance disclosure
                  requests to each Defendant. The responses provided certificates of
                  insurance claiming that UBER and RASIER rejected UM/UIM
                  insurance coverage in Florida. These responses differ from
                  Defendant’s public statements available to users through the Uber
                  app.

   ANSWER:        Progressive admits that UM/UIM insurance was rejected by the insureds. Further

   responding, Progressive denies making any public statements suggesting or implying that

   UM/UIM coverage was available under the Policy issued to Uber and Rasier and denies the

   remaining allegations, characterizations, and legal conclusions contained at paragraph 18. Further

   responding, Progressive denies that Monasterio ever saw, read, or relied upon any purported

   statements.

                          19.    In their post-collision insurance disclosure response,
                  Defendants also disclosed the following language of policy No.
                  06250110, which includes the following coverages: PART III-
                  Uninsured Motorist- “… we will pay for damages, other than
                  punitive or exemplary damages, that an insured is legally entitled to
                  recover from the owner or operator of an uninsured auto because of
                  bodily injury: 1. Sustained by an insured; 2. Caused by an accident
                  occurring while the TNC driver is engaged in providing a
                  prearranged service; and 3. Arising out of the ownership,

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                  maintenance, or use of an uninsured auto. The bodily injury must be
                  a serious injury as described in section 627.737(2) of the Florida
                  Motor Vehicle No-Fault Law, as amended, before we will pay for
                  damages consisting of pain, suffering, mental anguish, or
                  inconvenience.”

   ANSWER:        Progressive states that it provided a full copy of the policy in response to the

   insurance disclosure. Further responding, Progressive denies that paragraph 19, fully, accurately,

   or completely quotes all pertinent terms and conditions of the Policy and, therefore, to the extent

   that the allegations contained at paragraph 19 conflict with the Policy, they are denied.

                         20.     After the collision, Plaintiff sent a request for Pre-
                  Arbitration Mediation to the Defendants, requesting to meet with
                  representatives of the Defendants to resolve the parties’ dispute.

   ANSWER:        Progressive denies that it was subject to pre-suit arbitration as the carrier.

                          21.     The Defendants failed to respond to this request and
                  failed to abide by the terms of UBER and RASIER’s agreements
                  with the Plaintiff.

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusions

   contained at paragraph 21.

                          22.   After the collision, Defendants provided the Plaintiff
                  with a document titled “Florida Rejection or Selection of Uninsured
                  Motorist Coverage and Stacked of Non-Stacked Limits” and signed
                  by UBER’s “Head of North America Insurance” Amy E. Wagner.

   ANSWER:        Progressive admits the allegations contained ta paragraph 22.

                         23.     This rejection is not valid because it is expressly
                  contradicted by the plain language of Fla. Stat. §627.748(7)(c)c and
                  §627.748(7)(d).

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusions

   contained at paragraph 23.

                           24.    In July, 2022, PROGRESSIVE informed Plaintiff
                  that it denied Plaintiff’s claim for insurance coverage for the loses
                  sustained in the May 6, 2022 collision.


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   ANSWER:        Progressive admits that it denied Plaintiff’s claim for UM/UIM coverage as such

   coverage had been rejected by the named insured.

   COUNT I - DECLARATORY JUDGMENT FOR VIOLATION OF FLA. STAT. §727.748

                          __.     Plaintiff re-alleges paragraphs 1-25, and further
                  alleges:

   ANSWER:        Progressive adopts and incorporates by reference its answers to paragraphs 1

   through 24, above (paragraph 25 has not been alleged yet), as and for its answer to this paragraph

   of this Count I as though fully set forth herein.

                         25.    Florida Statues grants Plaintiff a right to receive
                  uninsured/underinsured motorist coverage from UBER, RASIER,
                  and PROGRESSIVE, and requires the Defendants to provide that
                  coverage.

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusions

   contained at paragraph 25.

                          26.    Plaintiff’s and Defendants have an actual
                  controversy, because Defendants have refused to provide
                  uninsured/underinsured motorist insurance benefits as required by
                  Fla. Stat §627.748.

   ANSWER:        Progressive admits that there is a controversy.

                         27.    Plaintiff is in doubt regarding her rights, and the
                  Defendants’ obligations, under the PROGRESSIVE insurance
                  policy No. 06250110.

   ANSWER:        Progressive lacks information sufficient to form a knowledge or belief concerning

   the truth or falsity of the allegations concerning Monasterio’s beliefs or doubts as alleged at

   paragraph 27 and, therefore, neither admits nor denies same.

                        28.    Plaintiff is also in doubt and her rights, and the
                  Defendants’ obligations, under her contract with UBER and
                  RASIER. Plaintiff is not in possession of this agreement.




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   ANSWER:        Progressive lacks information sufficient to form a knowledge or belief concerning

   the truth or falsity of the allegations concerning Monasterio’s beliefs or doubts as alleged at

   paragraph 28 and, therefore, neither admits nor denies same.

                       29.   Both the PROGRESSIVE insurance policy and the
                  UBER and RASIER contract are affected by Fla. Stat. §627.748.

   ANSWER:        Progressive denies the allegations, characterizations, and legal conclusions

   contained at paragraph 29.

                         30.     Plaintiff requests this Court determine the validity,
                  construction, and application of Fla. Stat §627.748 to her rights
                  under the PROGRESSIVE insurance policy and the UBER and
                  RASIER agreements, and determine the obligations of the
                  Defendants.

   ANSWER:        Progressive states that it has no obligation to the Monasterio under the operative

   policy and, therefore, to the extent that paragraph 30 requires a further response, Progressive denies

   the allegations, characterizations, and legal conclusions contained at paragraph 30.

          WHEREFORE, Plaintiff/Counter-Defendant, Progressive Express Insurance Company,

   denies that Defendant/Counter-Plaintiff is entitled to any relief or declaration concerning the terms

   or conditions of the Policy, and, therefore, prays that this Court enters judgment in its favor, and

   against the Plaintiff/Counter-Defendant, Karina Monasterio.




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    Dated: October 6, 2023                       Respectfully submitted,


                                                 /s/ Patrick K. Dahl
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                                    CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was filed with the Clerk
   of Court using the CM/ECF system on October 6, 2023, and the foregoing document is being
   served this day on all counsel or parties of record on the Service List below, either via transmission
   of Notices of Electronic Filing generated by CM/ECF or in some other authorized manner for those
   counsel or parties who are not authorized to receive Notices of Electronic Filing.

                                          ___/s/ Patrick K Dahl________
                                          Patrick K. Dahl, Esquire




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